Case 2:04-Cr-20127-BBD Document 70 Filed 08/25/05 Page 1 of 2 Page|D 68

IN THE UNITED sTATES DISTRICT COURT F"-ED B" %: D-C-
FOR THE wEsTERN DISTRICT oF TENNESSEE

WESTERN I)IVISION 05 AUG 25 PH 3= 119
w two
UNITED sTATEs 0F AMERICA, ) W@UO§ §§ RE:IPPM
)
Plainciff, ) Criminal No. 04-20127-1)
vs. )
)
JEROME REED, ) 18 U.s.c. § 922(g)
)
Defendant. )

 

ORDER DISMISSING INDICTMENT

 

Upon Motion of the United States of America, pursuant to Fed. R. Crim. P. 48, to dismiss
indictment 04~20127 returned against JEROME REED on March 16, 2004, it is
hereby ORDERED, ADJUDGED AND DECREED THIS Q¢_, day of August 2005 that the

indictment herein is dismissed.

 

 

DATE: 95 S/

APPROVED: i (/{
Katrina U. Earley /
Assistant United States Attorney
167 N. Main Street, Suite 800
Memphis, TN 38103 Th\s document entered on the docket she Tn corn 1 IIa4
(#019367 Termessee) with Hu\a 55 and;'or 32(b) FRGrP on l '

     
 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
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Honorable Bernice Donald
US DISTRICT COURT

